
USCA1 Opinion

	










          June 27, 1995     UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 94-2034

                                   JENNIFER HOULT,
                                Plaintiff - Appellee,

                                          v.

                                   DAVID P. HOULT,
                                Defendant - Appellant.

                                 ____________________


                                     ERRATA SHEET


               The opinion of this Court issued on May 22, 1995, is amended
          as follows:

               Replace the  second  full  paragraph  on  page  9  with  the
               ____________________________________________________________
          following:  "In any case, we need not at this  time determine the
          _________
          precise  contours  of the  district court's  responsibility under
          Daubert.    The  gravamen  of defendant's  argument  is  that the
          _______
          district court  wrongly decided  a  point of  law.   This is  not
          grounds for relief under  Rule 60(b).  See Silk  v. Sandoval, 435
                                                 ___ ____     ________
          F.2d  1266,  1267-68 (1st  Cir.),  cert.  denied, 402  U.S.  1012
                                             _____________
          (1971).  See also Rodr guez Antuna v. Chase Manhattan Bank Corp.,
                   ________ ________________    __________________________
          871 F.2d  1, 2 (1st  Cir. 1989).   We conclude that  the district
          court's admission of the expert testimony, even if error -- as to
          which we  express no opinion --  was not a "mistake,"  as we have
          defined  that term  under Rule 60(b)(1).   See Silk,  435 F.2d at
                                                     ___ ____
          1267-68.  See also Rodr guez Antuna, 871 F.2d at 2; Scola v. Boat
                    ________ ________________                 _____    ____
          Frances, R., Inc., 618 F.2d 147, 153-54 (1st Cir. 1980)."
          _________________

































                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 94-2034

                                   JENNIFER HOULT,

                                Plaintiff - Appellee,

                                          v.

                                   DAVID P. HOULT,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Douglas P. Woodlock, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Aldrich, Senior Circuit Judge,
                                     ____________________

                              and Stahl, Circuit Judge.
                                         _____________

                                _____________________

               Edward J. Collins for appellant.
               _________________
               Kevin  P.  O'Flaherty, with  whom  Adrienne  M. Markham  and
               _____________________              ____________________
          Goulston &amp; Storrs were on brief for appellee.
          _________________



                                 ____________________

                                     May 22, 1995
                                 ____________________




















                    TORRUELLA, Chief Judge.   Plaintiff-appellee,  Jennifer
                    TORRUELLA, Chief Judge.
                               ___________

          Hoult,  brought  suit  against  her  father, defendant-appellant,

          David   Hoult,  in   the   United  States   District  Court   for

          Massachusetts alleging,  inter  alia, assault  and  battery,  and
                                   _____  ____

          intentional infliction of emotional distress.  A  jury returned a

          verdict in the amount of $500,000 for plaintiff.  Defendant filed

          timely  appeals   -- first,  of the  denial of  his motion  for a

          mistrial and, second,  of the jury verdict -- both  of which were

          ultimately  dismissed by this court for lack of prosecution.  One

          year after  judgment issued, defendant filed a  motion for relief

          from  judgment pursuant  to Rule  60(b) of  the Federal  Rules of

          Civil Procedure.   Defendant appeals the  district court's denial

          of that motion.  For the reasons stated herein, we affirm.

                                      BACKGROUND
                                      BACKGROUND

                    Plaintiff commenced this action  in July 1988 alleging,

          among other things, that from the time she was approximately four

          years old until she was approximately sixteen years old defendant

          sexually abused and  threatened her.  Plaintiff  alleged that she

          had  repressed all  memory  of  the  abuse  until  she  began  to

          recapture those memories during therapy sessions in October 1985,

          when she was twenty-four.

                    On February 2,  1993, the parties presented the case at

          a summary jury trial.  Counsel for both parties outlined for  the

          summary jury the evidence they expected to present at trial.  The

          presentation  by plaintiff's  counsel included  a summary  of the

          expected testimony  of, among  others, the plaintiff,  her former


                                         -2-














          therapist,   Eileen  Jacobsen  ("Jacobsen"),  and  her  examining

          psychiatrist,  Dr. Renee  Brant ("Dr.  Brant").   Defense counsel

          presented  no  expert testimony,  relying instead  on defendant's

          general denial of the  charges and a refutation of  the testimony

          of Jacobsen and Dr. Brant.   Defendant prevailed on the merits at

          the summary jury trial.

                    On June 24, 1993, the case went to trial.  It was tried

          for eight  days.  Both Dr.  Brant and Jacobsen testified  for the

          plaintiff.  On July 1, 1993, the jury returned a verdict in favor

          of the  plaintiff in the amount  of $500,000.  On  July 14, 1993,

          the district court entered judgment in the case.  Defendant moved

          for  a new  trial, and  that  motion was  denied in  August 1993.

          Defendant appealed both the  denial of his motion for a new trial

          and the judgment.  Both appeals were ultimately dismissed by this

          court for lack of prosecution.

                    On July 14,  1994, exactly  one year from  the date  of

          judgment,  defendant,  through new  counsel,  filed  a motion  to

          vacate the judgment.   The  district court denied  the motion  to

          vacate  in a  detailed opinion  delivered from  the bench  at the

          conclusion  of a  hearing  on defendant's  motion.   This  appeal

          followed.

                                      DISCUSSION
                                      DISCUSSION

                    Defendant  asserts essentially four  grounds for relief

          from  judgment under  Rule  60(b).1   We  address each  of  these

                              
          ____________________

          1  Rule 60(b) provides, in pertinent part:


                                         -3-














          arguments  seriatim below.  We  note at the  outset that district

          courts enjoy  broad discretion in deciding  motions brought under

          Rule  60(b), and we  review such rulings  only for  abuse of that

          discretion.  See Cotto  v. United States, 993 F.2d  274, 277 (1st
                       ___ _____     _____________

          Cir. 1993); Teamsters, Chauffeurs, Warehousemen &amp; Helpers  Union,
                      _____________________________________________________

          Local No. 59 v. Superline Transp.  Co., 953 F.2d 17, 19 (1st Cir.
          ____________    ______________________

          1992).   In addition, our review is  limited to the denial of the

          motion itself.  We may not  consider the merits of the underlying

          judgment.  Ojeda-Toro v. Rivera-M ndez, 853 F.2d 25, 28 (1st Cir.
                     __________    _____________

          1988).  Finally, we note that "Rule 60(b)(6) may not be used as a

          back-door substitute for an  omitted appeal, and, in all  but the

          most exceptional circumstances, a  party's neglect to prosecute a

          timeous appeal will bar  relief under the rule."  Cotto, 993 F.2d
                                                            _____

          at 278.
                              
          ____________________

                      On  motion and  upon  such terms  as  are
                      just, the court may  relieve a party or a
                      party's legal representative from a final
                      judgment,  order,  or proceeding  for the
                      following   reasons:       (1)   mistake,
                      inadvertence,   surprise,  or   excusable
                      neglect;  (2)  newly discovered  evidence
                      which  by  due diligence  could  not have
                      been discovered in time to move for a new
                      trial   under   Rule  59(b);   (3)  fraud
                      (whether heretofore denominated intrinsic
                      or   extrinsic),  misrepresentation,   or
                      other misconduct of an adverse party; (4)
                      the  judgment is  void; (5)  the judgment
                      has   been    satisfied,   released,   or
                      discharged,  or  a  prior  judgment  upon
                      which  it is  based has been  reversed or
                      otherwise  vacated, or  it  is no  longer
                      equitable that the  judgment should  have
                      prospective application; or (6) any other
                      reason   justifying   relief   from   the
                      operation of the judgment.


                                         -4-














                                          I.
                                          I.

                    Defendant's primary contention is  that the trial judge

          erred  in  allowing plaintiff's  expert  witness,  Dr. Brant,  to

          testify with respect to the phenomenon of repressed memory in the

          context of childhood sexual abuse.  Defendant  contends that this

          constitutes  "mistake,  inadvertence,   surprise,  or   excusable

          neglect" within the meaning of Rule 60(b)(1).

                    With  respect to her qualifications as an expert in the

          areas  of general  psychiatry,  child  psychiatry, and  childhood

          sexual abuse, Dr.  Brant testified that she: is a graduate of the

          Harvard Medical School; has a private psychiatric practice; was a

          founder  of the sexual abuse unit at Children's Hospital; holds a

          joint  appointment  as  an  instructor  of  medical  students  at

          Children's  Hospital  and Harvard  Medical  School;  serves as  a

          consultant on  the treatment of  children who have  been sexually

          abused; has lectured  widely on  the issue of  the treatment  and

          diagnosis of  children who  have suffered sexual  abuse; and  has

          served as an expert witness in several other actions.

                    Dr. Brant testified generally  at trial with respect to

          the psychological  dynamics and  clinical profiles of  victims of

          childhood  sexual  abuse,  and   also  about  the  phenomenon  of

          repressed  memory of  traumatic  events.   She further  testified

          that,  based on her  clinical evaluation of  the plaintiff, there

          "was  a lot  of  correlation" between  the plaintiff's  "clinical

          presentation"  and the  clinical  profile of  a childhood  sexual

          abuse victim.


                                         -5-














                    At  no time  before or during  either the  summary jury

          trial or the actual jury trial did defendant object to either Dr.

          Brant's  qualifications as an expert witness  or her testimony in

          general.  Nor did  defendant present any expert testimony  of his

          own.   Instead,  defense  counsel vigorously  cross-examined  Dr.

          Brant, regarding both her theories and techniques in general, and

          her  application   of  those  theories  and   techniques  to  her

          evaluation of the plaintiff.  Defense counsel also challenged Dr.

          Brant's testimony with specific articles and studies by academics

          and  other mental  health professionals.   The defendant  was the

          only  witness to  testify  for the  defense.   The  defense  used

          essentially the same strategy at trial that it  successfully used

          at the summary jury trial.

                    Rule  103(a) of  the Federal  Rules of  Civil Procedure

          provides that  a claim  of error  may  not be  predicated on  the

          admission of evidence  unless it affects  a substantial right  of

          the  party and a timely objection is made.  Defendant nonetheless
                     ___

          argues that  the Supreme  Court's recent  decision in  Daubert v.
                                                                 _______

          Merrell  Dow Pharmaceuticals, Inc., __  U.S. __, 113  S. Ct. 2786
          __________________________________

          (1993), requires the district  court to make a sua  sponte ruling
                                                         ___  ______

          on  the admissibility of expert testimony.   Defendant bases this

          argument on the following language from Daubert:
                                                  _______

                      [U]nder the [Federal Rules  of Evidence],
                      the  trial judge must ensure that any and
                      all  scientific   testimony  or  evidence
                      admitted  is  not   only  relevant,   but
                      reliable.

                         The primary locus  of this  obligation
                      is Rule 702,  which clearly  contemplates

                                         -6-














                      some degree of regulation of the subjects
                      and theories  about which an  expert must
                      testify.  .  .  .    The  subject  of  an
                      expert's testimony must be  "scientific .
                      .   .   knowledge."       The   adjective
                      "scientific" implies a  grounding in  the
                      methods   and   procedures  of   science.
                      Similarly, the  word "knowledge" connotes
                      more    than    subjective   belief    or
                      unsupported speculation. . . .  In short,
                      the   requirement    that   an   expert's
                      testimony    pertain    to    "scientific
                      knowledge"  establishes   a  standard  of
                      evidentiary reliability. . . .

                                        . . .

                         Faced   with   a  proffer   of  expert
                      testimony,  then,  the  trial judge  must
                      determine  at  the  outset,  pursuant  to
                      Rule 104(a),   whether   the  expert   is
                      proposing to testify to  . . . scientific
                      knowledge. . . .

          Daubert, 113 S. Ct. at 2795.2
          _______

                    The district court rejected  defendant's interpretation

          of  Daubert,  primarily  because  it is  inconsistent  with  Rule
              _______

          103(a).   The position of  the district court  is consistent with

          the one federal  appeals court decision we found  addressing this



                              
          ____________________

          2    Rule  702  provides: "If  scientific,  technical,  or  other
          specialized knowledge will assist the trier of fact to understand
          the evidence or to determine a fact in issue, a witness qualified
          as  an  expert  by  knowledge, skill,  experience,  training,  or
          education,  may  testify thereto  in the  form  of an  opinion or
          otherwise."

             Rule 104 (a)  provides: "Preliminary questions  concerning the
          qualification of a  person to  be a witness,  the existence of  a
          privilege, or  the admissibility of evidence  shall be determined
          by  the  court,  subject to  the  provisions  of subdivision  (b)
          [pertaining   to  conditional   admissions].     In  making   its
          determination it is  not bound  by the rules  of evidence  except
          those with respect to privileges."

                                         -7-














          issue.  See  McKnight v.  Johnson Controls, Inc.,  36 F.3d  1396,
                  ___  ________     ______________________

          1407 (8th Cir. 1994).

                    Although  we  agree  with  the result  reached  by  the

          district court, we take a somewhat different view of Daubert.  We
                                                               _______

          think  Daubert  does  instruct   district  courts  to  conduct  a
                 _______

          preliminary  assessment of  the reliability of  expert testimony,

          even  in the absence of an objection.   We do not think, however,

          that district courts  are required, sua sponte, to  make explicit
                                              ___ ______

          on-the-record  rulings  regarding  the  admissibility  of  expert

          testimony.  The  reasoning of  the Second Circuit  in a  somewhat

          analogous case is instructive in this regard.

                    The two defendants in United States v. Locascio, 6 F.3d
                                          _____________    ________

          924 (2d Cir. 1993), argued that a district court admitting expert

          testimony based on inadmissible evidence pursuant to  Rule 703 of

          the  Federal  Rules  of Civil  Procedure  must  make  an explicit

          finding  with regard  to  the trustworthiness  of the  underlying

          sources of information upon  which the expert relied.   The court

          rejected this argument, stating:

                         We  decline,  however, to  shackle the
                      district  court  with  a   mandatory  and
                      explicit  trustworthiness analysis.   The
                      district judge, who has the ideal vantage
                      point to evaluate  an expert's  testimony
                      during trial, already  has the  authority
                      under  Fed. R.  Evid. 403  to conduct  an
                      explicit trustworthiness  analysis should
                      she  deem one  necessary.    In fact,  we
                      assume    that    the   district    court
                      consistently and  continually performed a
                      trustworthiness analysis  sub silentio of
                                                ___ ________
                      all  evidence  introduced at  trial.   We
                      will  not,   however,  circumscribe  this
                      discretion  by  burdening the  court with


                                         -8-














                      the  necessity  of  making   an  explicit
                      determination for all expert testimony.

          Locascio, 6 F.3d at 939 (citations omitted).
          ________

                    We think Daubert  and Rule 104(a) place some  burden on
                             _______

          the  district court  judge to  make preliminary  evaluations with

          respect  to  the  reliability  of  evidence,  but  we  decline to

          "shackle  the  district  court  with a  mandatory  and  explicit"

          reliability analysis.  Rather, we assume that the  district court

          performs such an  analysis sub silentio throughout the trial with
                                     ___ ________

          respect to all expert testimony.

                     In  any case, we need  not at this  time determine the

          precise  contours of  the district  court's responsibility  under

          Daubert.    The gravamen  of  defendant's  argument  is that  the
          _______

          district  court wrongly  decided a  point of  law.   This is  not

          grounds for  relief under Rule 60(b).   See Silk v. Sandoval, 435
                                                  ___ ____    ________

          F.2d  1266,  1267-68 (1st  Cir.),  cert.  denied, 402  U.S.  1012
                                             _____________

          (1971).  See also Rodr guez Antuna v. Chase Manhattan Bank Corp.,
                   ________ ________________    __________________________

          871 F.2d 1,  2 (1st Cir.  1989).  We  conclude that the  district

          court's admission of the expert testimony, even if error -- as to

          which we  express no opinion --  was not a "mistake,"  as we have

          defined that  term under Rule  60(b)(1).  See  Silk, 435 F.2d  at
                                                    ___  ____

          1267-68.  See also Rodr guez Antuna, 871 F.2d at 2; Scola v. Boat
                    ________ ________________                 _____    ____

          Frances, R., Inc., 618 F.2d 147, 153-54 (1st Cir. 1980).
          _________________

                      Defendant also asserts, in a similar vein, that Local

          Rule 26.4(A) of the United States District Court for the District

          of  Massachusetts requires the trial  judge to make  a sua sponte
                                                                 ___ ______

          ruling  on the admissibility of  expert testimony.  This argument

                                         -9-














          lacks merit.  Local  Rule 26.4(A) provides that, "[a]t  the final

          pretrial conference, the  judge shall  consider: . .  . making  a

          ruling on  the admissibility of  expert testimony at  the trial."

          The  plain language  of this  rule merely  requires  the district

          court  to consider making a ruling on the admissibility of expert
                    ________

          testimony; it does not require the court to make such a ruling.3

                                         II.
                                         II.

                    Defendant's  second  contention  is  that   an  article

          entitled The Reality of  Repressed Memories, by Elizabeth Loftus,
                   __________________________________

          which was  published one  month before trial,  constitutes "newly

          discovered evidence" within  the meaning of Rule  60(b)(2).  Rule

          60(b)(2) gives the district court discretion to vacate a judgment

          based  upon "newly  discovered  evidence which  by due  diligence

          could not  have been discovered in  time to move for  a new trial

          under Rule 59(b)."  The article critically examines and questions

          the  reliability  of  repressed  memories,  particularly  in  the

          context  of  childhood  sexual  abuse   allegations.    Defendant

                              
          ____________________

          3  Defendant also  asserts that his trial counsel's  decision not
          to present  expert testimony in  his case-in-chief, or  object to
          the  testimony of  Dr.  Brant, was  a  "mistake" or  "inexcusable
          neglect" within the meaning of Rule 60(b)(1).  We have repeatedly
          held  that "the  acts  and omissions  of counsel  are customarily
          visited upon the client in a civil case."  Cotto, 993 F.2d at 281
                                                     _____
          (citing  Link v. Wabash R.R.  Co., 370 U.S.  626, 633-34 (1962));
                   ____    ________________
          see also United  States v.  One lot $25,721.00  in Currency,  938
          ________ ______________     _______________________________
          F.2d 1417, 1421 (1st Cir. 1991); Ojeda-Toro, 853 F.2d at 30.  The
                                           __________
          principle carries particular force in this case because the  very
          defense strategy  defendant now objects to  was used successfully
          by defense counsel at the summary jury trial.  Thus, not only was
          defendant fully  aware of his counsel's  strategy, but presumably
          he was satisfied  with the result at the summary  jury trial.  We
          find  no justification for departing from the general rule that a
          defendant is bound by the acts and omissions of his attorney.

                                         -10-














          maintains  that  the article  could have  been  used at  trial to

          challenge the testimony of Dr. Brant.

                    Defendant's motion to  vacate the  judgment under  Rule

          60(b)(2) fails.   Because  Rule 60(b)(2)  is aimed at  correcting

          erroneous judgments based on the unobtainability of evidence, the

          burden is on the party presenting the new evidence to demonstrate

          that  the  missing  evidence   was  "'of  such  a   material  and

          controlling  nature  as  [would] probably  [have]  change[d]  the

          outcome.'"  Anderson  v. Cryovac,  Inc., 862 F.2d  910, 924  n.10
                      ________     ______________

          (1st Cir. 1988) (quoting 7 J.  Moore &amp; J. Lucas, Moore's  Federal
                                                           ________________

          Practice     60.23[4]  at   60:201-02  (2d  ed.  1985)  (footnote
          ________

          omitted));  see also  Federal  Deposit Ins.  Corp.  v. La  Rambla
                      ________  ____________________________     __________

          Shopping Cntr.,  791 F.2d  215, 223-24  (1st Cir. 1986);  Bradley
          ______________                                            _______

          Bank v. Hartford Assurance &amp;  Indem. Co., 737 F.2d 657, 662  (7th
          ____    ________________________________

          Cir.  1984).   Defendant  has  failed  to  demonstrate  that  the

          opinions expressed  in the pertinent article  would probably have

          changed  the  outcome  of the  trial.    Indeed,  the article  is

          equivocal when it  comes to the validity  of repressed memories.4

          Its central thesis is simply that  more research needs to be done

          and  therapists need to be more cognizant of the possibility that

          they are "suggesting" childhood sexual abuse.  This is hardly the

          sort  of  extraordinary  "new   evidence"  contemplated  by  Rule

          60(b)(2).


                              
          ____________________

          4   For example, in her concluding  remarks the author notes that
          "[d]espite  lack of  corroboration,  some of  these recollections
          could be authentic.  Others might not be."

                                         -11-














                                         III.
                                         III.

                    Defendant next contends that  the judgment in this case

          is "void" within the meaning of Rule 60(b)(4).  We have explained

          that "[a] judgment is void, and therefore subject to relief under

          Rule  60(b)(4),  only  if  the court  lacked  jurisdiction  or in
                           ____                                       __

          circumstances in  which the  court's action  amounts  to a  plain

          usurpation  of power  constituting a  violation of  due process."

          United  States v. Boch Oldsmobile,  Inc., 909 F.2d  657, 661 (1st
          ______________    ______________________

          Cir. 1990) (citation  omitted).   A judgment is  not void  simply

          because it is  or may have  been erroneous; it  is void only  if,

          from its inception, it was  a legal nullity.  Id. at  661; Lubben
                                                        __           ______

          v. Selective Serv.  Sys. Local Board No., 453  F.2d 645, 649 (1st
             _____________________________________

          Cir.  1972).  "In the interests of  finality, the concept of void

          judgments  is narrowly construed."   Id.  at 661  (quoting United
                                               __                    ______

          States v. Berenguer, 821 F.2d at 22).
          ______    _________

                    Defendant contends that Dr. Brant "usurped the function

          of  the   jury"  by  opining  on   the  plaintiff's  credibility.

          Defendant  maintains that  admission of  this testimony  at trial

          amounted  to a violation of  due process, and  therefore that the

          judgment is void under Rule 60(b)(4).

                    Dr. Brant  testified that  one of the  clinical factors

          involved in her  evaluation of sexual abuse patients concerns the

          potential for  fabrication --  specifically, whether  the patient

          indicates a motivation to  fabricate the claims of sexual  abuse.

          When  asked whether she developed any opinion with respect to her




                                         -12-














          evaluation of  the plaintiff in conjunction  with the fabrication

          factor, Dr. Brant testified, without objection, as follows:

                      So to the extent that  her feelings about
                      her father were so  complex, I think in a
                      situation   of   fabrication   or   false
                      allegation what I might expect is someone
                      who is angry, vengeful, wants to out  and
                      destroy  someone, and  this is  the means
                      they  will use  to do  it.  I  didn't see
                      that at all with Ms. Hoult. . . .

                      .  . .  I suppose  one of the motivations
                      when   someone   is  involved   in  civil
                      litigation, and you are looking for -- to
                      see money for damages  -- is that you try
                      to build as big a  case as you can  about
                      how much pain  and suffering you are  in.
                      Well, here she was telling me about . . .
                      many  ways in which  she was feeling much
                      better. . .  .  So  I thought about  that
                      and  considered  that in  relationship to
                      false allegation and fabrication.  I felt
                      there was less indication of that. . . .

                    It  is the function of  the jury alone  to evaluate the

          credibility  of a  witness.   This  principle carries  particular

          importance in a case, such as this one, where the  witness is the

          alleged  victim and  a  party to  the  lawsuit.   When an  expert

          witness  testifies   with  respect   to  the  credibility   of  a

          victim/witness there is a  real danger that jurors will  lend too

          much  credence  to  the   expert's  evaluation  of  the  victim's

          credibility, at the expense of their own independent  judgment of

          credibility.  See United States v. Rosales, 19 F.3d 763, 766 (1st
                        ___ _____________    _______

          Cir.  1994)   ("proffered  expert  testimony  [c]ould   create  a

          substantial danger of undue  prejudice . . . because of its  aura

          of  special reliability  and  trustworthiness")  (quoting  United
                                                                     ______

          States v. Fosher, 590 F.2d 381, 383 (1st Cir. 1979)).
          ______    ______


                                         -13-














                    We  addressed this  issue  recently.   In Rosales,  the
                                                              _______

          defendant argued  on appeal  that a  portion of  the government's

          expert testimony should have  been excluded because it improperly

          bolstered the testimony of the alleged sexual abuse victims.  The

          expert testified  that children generally "tend  to be reluctant,

          they  tend  to be  embarrassed,  uncomfortable,  ashamed of  what

          happened.   They're very uncomfortable  giving details.   I see a

          lot of that.  And I saw that in these children."  Id. at 765.  We
                                                            __

          concluded that the expert testimony in question "sent an implicit

          message to  the jury that the children  had testified truthfully,

          and this might therefore have interfered with the jury's function

          as  the sole assessor of witness credibility."  We held, however,

          that  even   if  the   probative  value   of  the  evidence   was

          substantially  outweighed  by  the  risk  of  unfair  prejudice,5

          admission of the evidence was not "plain error."6  Id. at 766.
                                                             __

                    We  think Dr.  Brant's testimony  may have  crossed the

          line in commenting  upon the plaintiff's credibility.   Dr. Brant

          did  not  limit her  testimony  to  "psychological literature  or

          experience or to a  discussion of a class of  victims generally."

                              
          ____________________

          5   Relevant evidence is admissible unless its probative value is
          substantially  outweighed  by  the  risk  of   unfair  prejudice,
          confusion,  or waste of time.   United States  v. Argencourt, 996
                                          _____________     __________
          F.2d 1300, 1305 (1st Cir. 1993); Fed. R. Evid. 403.

          6   The  defendant in Rosales  had not objected  to the proffered
                                _______
          testimony  and,  therefore, our  review  was  confined to  "plain
          error" rather than abuse of discretion.  Rosales, 19 F.3d at 765.
                                                   _______
          Because the defendant in the instant case did not properly appeal
          the  judgment, our review is even more strictly constrained -- we
          review only  for  a "plain  usurpation  of power  constituting  a
          violation of due process."  See Boch Oldsmobile, 909 F.2d at 661.
                                      ___ _______________

                                         -14-














          See United States  v. Binder, 769 F.2d 595,  602 (9th Cir. 1985),
          ___ _____________     ______

          quoted  in Rosales, 19 F.3d at 765.   Rather, she came perilously
          __________ _______

          close to testifying that  this particular victim/witness could be

          believed.   See id.   If defendant had  properly objected to this
                      ___ __

          testimony  at  trial,  and  appealed  a  decision  admitting  the

          testimony,  we would be faced with a difficult decision.  Because

          the  defendant  in  this case  neither  objected  to Dr.  Brant's

          testimony, nor appealed its  admission into evidence, however, we

          review not for abuse of discretion or plain error, but only for a

          "plain usurpation of the jury's function constituting a violation

          of due process."   Boch  Oldsmobile, 909  F.2d at  661.   "[O]nly
                             ________________

          'rare instance[s] of a  clear usurpation of power' will  render a

          judgment void."  Id. at 662 (citation omitted).  The testimony in
                           __

          question did not rise to this level.

                    We  base  this conclusion  on  three  factors.   First,

          Dr. Brant was subjected to  rigorous cross examination by defense

          counsel.   In  particular, defense  counsel questioned  Dr. Brant

          with respect to several  scholarly articles which contradicted or

          called  into   question  Dr.  Brant's   opinions  concerning  the

          phenomenon  of  repressed memories  in  alleged childhood  sexual

          abuse  cases.   Second, defense  counsel repeatedly  attempted to

          elicit opinion  testimony from  Dr. Brant  that she believed  the

          plaintiff's allegations.   Dr. Brant steadfastly  refused to give

          such  an  opinion,  explicitly  testifying:  "I  had  no  way  of

          ultimately determining whether they were true  or not."  Finally,

          the district court instructed the jury as follows:


                                         -15-














                      You should consider  each expert  opinion
                      received in  this case and  give it  such
                      weight as you may  think it deserves.  If
                      you  should decide that the opinion of an
                      expert   witness   is   not  based   upon
                      sufficient  education and  experience, or
                      if you should  conclude that the  reasons
                      given in  support of the opinion  are not
                      sound,  or   if  you  feel   that  it  is
                      outweighed  by  other  evidence, you  may
                      disregard the opinion entirely.

                    Thus,    the   jury   was   presented   with   evidence

          contradicting or calling into  question Dr. Brant's opinions, Dr.

          Brant  herself testified that she  had no way  of knowing whether

          the plaintiff's  allegations were  true, and the  court expressly

          instructed  the jurors that they were free to reject the opinions

          offered by  Dr. Brant.  Cf. Rosales,  19 F.3d at 766.   Under the
                                  __  _______

          circumstances, we conclude  that Dr. Brant's testimony did not so

          plainly  usurp  the  function of  the  jury  as  to constitute  a

          violation of due process.

                    Defendant  also  contends  that plaintiff's  therapist,

          Jacobsen, was improperly allowed to provide expert testimony, and

          that  the jury  was therefore  "corrupted."   Plaintiff maintains

          that Jacobsen testified only as a fact witness.  We have reviewed

          Jacobsen's testimony  and think that  at certain points  she went

          beyond  what  is  traditionally  allowed  for  a  fact  witness.7

          Again,   however,  defendant   neither  objected   to  Jacobsen's

          testimony nor  appealed its  admission into evidence.   Moreover,

          while  some of her testimony might have been objectionable, we do
                              
          ____________________

          7   For example,  she was  allowed to give  her opinion  that the
          plaintiff  "will always have to  struggle with the  damage that I
          think was done."

                                         -16-














          not think its admission was particularly prejudicial.  We discern

          no violation of due process.


















































                                         -17-














                                         IV.
                                         IV.

                    Defendant's  final  contention  is  that  Judge Mazzone

          failed  to comply with the certification  requirements of Rule 63

          of the  Federal Rules of  Civil Procedure when  he took over  the

          case  for visiting Judge  Van Sickle.8   Defendant  contends that

          this  failure constitutes  "mistake,  inadvertence, surprise,  or

          excusable neglect" within the meaning of Rule 60(b)(1).

                    Just before  the close of evidence,  visiting Judge Van

          Sickle informed counsel for both  parties that, although he would

          be able to hear the rest of the evidence in the case, he would be

          unavailable  for closing  arguments,  the jury  charge, and  jury

          deliberations.   The parties had already  submitted proposed jury

          instructions  to  Judge  Van   Sickle,  and  he  discussed  those

          instructions  with counsel.   He informed  counsel that  he would

          prepare jury  instructions for his  successor to use  in charging

          the  jury.    On  June  30, 1993,  Judge  Mazzone  held  a  lobby

          conference with counsel to discuss his taking over the case.  The

          transcript  of the  June 30,  1993, lobby  conference speaks  for

          itself.

                         THE  COURT:   You all, of  course know
                      that this case was originally assigned to
                      me and  then went  to visiting Judge  Van
                      Sickle,  and  because  he  is  no  longer
                      available and is unable  to proceed, I am
                      stepping in.   Now  I know you  know I've
                      done a lot of work  in the case, but  the
                              
          ____________________

          8   Rule 63 provides, in pertinent part:   "If a trial or hearing
          has been commenced and the judge is unable  to proceed, any other
          judge may  proceed with it  upon certifying familiarity  with the
          record  and determining that the  proceedings in the  case may be
          completed without prejudice to the parties."

                                         -18-














                      rules  require me  to certify  that I  am
                      familiar  with the  case,  and I  will so
                                                 ______________
                      certify my familiarity with the record in
                      _________________________________________
                      the case. . . . 
                      ________

                         If  you have  any objections  to that,
                      the  case will  not  proceed.   So, I  am
                      calling upon you now to tell me what your
                      objections are.   All I'm going  to do is
                      hear  closing statements.    I  have  the
                      instructions  that  Judge Van  Sickle and
                      you  have  worked out,  and  I  will give
                      those to the jury.  I  have the jury form
                      which you have worked out and I will give
                      that.   So my  strong feeling is  that we
                      should put this matter behind us, but  if
                      you object to it, then I will have to get
                      the whole transcript  and I will  have to
                      read it.

                         PLAINTIFF'S COUNSEL:    . .  . We  are
                      content that you're familiar  enough with
                      the case  and that this  certification is
                      sufficient for us to proceed. . . .

                         DEFENSE COUNSEL:   .  . . We  are also
                      content,  with  the  request  that  we be
                      allowed  to  briefly  read  through  this
                      [proposed  jury instructions  prepared by
                      Judge Van Sickle].

                    Defense   counsel  did  not  object  to  Judge  Mazzone

          finishing  the case,  and the  transcript plainly  indicates that

          Judge  Mazzone  did  certify  his familiarity  with  the  record.

          Accordingly, defendant's claim fails.

                                          V.
                                          V.

                    As a  final  matter, we  note  that defendant  makes  a

          general claim for relief under  Rule 60(b)(6), asserting that "it

          would be  inequitable that  the  plaintiff continue  to have  the

          benefit  of  a judgment  obtained by  what .  .  . is  a manifest

          miscarriage  of  justice."   For  the  reasons previously  stated

          herein, we find no exceptional circumstances excusing defendant's

                                         -19-














          failure  -- on two separate occasions -- to prosecute his appeals

          of this case.

                                      CONCLUSION
                                      CONCLUSION

                    The decision of the district court  denying defendant's

          motion to vacate the judgment in this case is affirmed.
                                                        ________












































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